Case: 1:23-cv-02354-BMB Doc #:1 Filed: 12/11/23 1 of 4. PagelD #: 1

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rigitts (Prisoner)

UNITED STATES DISTRICT Court F't®
for the . HEC | 1 7023
Norther ry _ District of OHTO | SLEBIC US Eg He or Oto
Division

1:23 CV 02354

(to be filled in by the Clerk's Office}

Case

Yoniel &. Roses 403196

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list af names.)

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Defendant(s}
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list ofnames. Do not include addresses here.}

JUDGE BRENNAN

MAG. JUDGE GREENBERG

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nor contain: an individual’s full social
security number or full birth date; the full name of a person known to bea minor; or a complete financial account
number. A filing may include only: the last four digits of a social seturity number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

in order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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